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17                           IN THE UNITED STATES DISTRICT COURT
18                        FOR THE EASTERN DISTRICT OF CALIFORNIA
19                                      SACRAMENTO DIVISION
20

21     RALPH COLEMAN, et al.,                                Case No. 2:90-cv-00520 KJM-DB (PC)
22                                         Plaintiffs,       STIPULATION AND ORDER
                                                             IDENTIFYING QUARANTINE SPACE
23                   v.                                      FOR EOP AND PIP PATIENTS
24
       GAVIN NEWSOM, et al.,                                 Judge:   Hon. Kimberly J. Mueller
25
                                         Defendants.
26

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       [3681713.1]                                       1
                          Stipulation on Quarantine Space for EOP and PIP Patients (2:90-cv-00520 KJM-DB (PC))
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 1     The parties, through their counsel, Stipulate as follows:
 2               In order to allow each institution to follow public health guidance on isolating and
 3     quarantining patients in the event of a COVID-19 outbreak, on July 22, 2020, the Plata court
 4     ordered the California Department of Corrections and Rehabilitation (CDCR) to identify and set
 5     aside sufficient quarantine and isolation space at each institution. During the Coleman COVID-
 6     19 Taskforce meetings in August and September 2020, Plaintiffs raised concerns about whether
 7     CDCR has set aside sufficient quarantine space for class members in the Enhanced Outpatient
 8     Program level of care and higher. Plaintiffs filed an enforcement motion regarding quarantine
 9     space on September 25, 2020 (ECF No. 6887), which Defendants opposed on September 29,
10     2020 (ECF No. 6890).
11               In lieu of continuing to litigate the enforcement motion, the parties agreed to meet and
12     confer about quarantine space for Coleman class members and met on October 5, October 15,
13     October 27, and November 10, 2020. During those meetings, the parties discussed where
14     Enhanced Outpatient Program (EOP) and Psychiatric Inpatient Program (PIP) class members
15     would be housed at each of the fifteen EOP institutions. The parties also discussed the
16     development of policies governing programming and treatment of EOP class members housed in
17     set-aside quarantine units. As a result of those meetings, the parties make the following
18     agreements:
19               1)    Patients in the EOP level of care or higher housed under quarantine in an institution’s
20     set-aside quarantine space will either be clustered together within one area within the separate
21     quarantine unit or placed in sections or pods of the quarantine unit that are separate from other
22     non-EOP inmates. For each of the fifteen EOP institutions, the parties identified where EOP
23     patients will be housed within the set-aside quarantine space. That agreement is reflected in
24     Attachment A to this stipulation. In the event of an outbreak, non-EOP patients may be
25     overflowed into EOP sections or pods of the set-aside space, however, EOP patients will be
26     clustered together in the event of such a large outbreak. These locations and practices are also
27     subject to change in the event of an emergency, large outbreaks, or if recommended by the
28
       [3681713.1]                                            2
                                 Stipulation on Quarantine Space for EOP and PIP Patients (2:90-cv-00520 KJM-DB (PC))
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 1     Receiver or public health experts. Defendants agree to notify Plaintiffs, and meet and confer if
 2     necessary, in the event that the location or nature of the EOP set-aside space changes.
 3           2)    For most EOP institutions, the parties agreed that EOP patients who are single celled
 4     will be quarantined in their single cells in their current EOP housing unit. Similarly single celled
 5     PIP patients will generally be quarantined in their single cells. Defendants also agreed to move
 6     double celled EOP individuals into empty single cells in the EOP housing units for quarantine
 7     whenever possible. For example, at the California Men’s Colony (“CMC”), all EOP patients are
 8     housed in single cells with solid doors, and since this is the safest place to quarantine, they will
 9     remain in their cells for purposes of quarantine and isolation. Similarly, at the California Institute
10     for Women (“CIW”), 90 percent of the EOP patients are already single celled. Defendants have
11     agreed to keep 10 percent of the cells on the EOP unit empty so that double celled individuals in
12     the unit can be moved to single cells if they need to be quarantined. Similarly, at the Correctional
13     Heath Care Facility (“CHCF”) in Stockton, in the event double celled individuals in the EOP unit
14     need to be quarantined, one of each double celled EOP individual will be moved to the single
15     celled negative pressure isolation and quarantine units at CHCF, space permitting. Single celled
16     EOP patients at CHCF, CMC, CIW, California State Prison Corcoran (“COR), the California
17     Medical Facility (“CMF”), California State Prison, Sacramento (“SAC”), California State Prison,
18     Los Angeles County (“LAC”) and Salinas Valley State Prison (“SVSP”) will be quarantined in
19     place, while one member of each quarantined double celled EOP cell will be moved to the
20     separate quarantine space and housed accordingly.
21           3)    Defendants agree to issue a policy directive to the EOP institutions that will describe
22     where EOP or Psychiatric Inpatient Program patients are to be quarantined within the set-aside
23     quarantine space. In addition, Defendants will provide direction to those institutions to provide
24     programming to EOP or PIP patients separately from non-EOP or PIP inmates. Programming
25     includes out of cell time, shower, yard, day-room, canteen (if running) and medication pass.
26     Defendants will also direct institutions to provide EOP and PIP patients housed in a set-aside
27     quarantine space with as much cell-based mental health treatment as they would receive if they
28     were quarantined within their regular housing unit.
       [3681713.1]                                     3
                              Stipulation on Quarantine Space for EOP and PIP Patients (2:90-cv-00520 KJM-DB (PC))
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 1           4)    The parties agree that in the event of a prolonged quarantine of EOP or PIP patients
 2     (i.e. greater than fourteen days) that the parties will meet and confer to discuss the particulars of
 3     the prolonged quarantine and discuss whether any additional treatment or programming can be
 4     offered to the patients in that quarantine.
 5           5)    Defendants agree to update the Plaintiffs, and meet and confer if necessary, on the
 6     following issues:
 7                  a.     The Plata Receiver has asked CDCR to identify additional set-aside quarantine
 8     space at R.J. Donovan Correctional Facility (RDJ) and Mule Creek State Prison (MCSP).
 9     Defendants have tentatively identified quarantine plans for EOP patients at those institutions.
10     Defendants have not yet shared these plans with Plaintiffs. Defendants will endeavor to finalize
11     these plans and provide Plaintiffs an update on what additional set-aside space has been identified
12     and whether and how that impacts the quarantining of EOP patients at RJD or MCSP within 30
13     days. The parties will attempt to reach agreement on plans for quarantine housing of EOP
14     patients at both of those institutions as well.
15                  b.     Due to the unique physical plant of San Quentin State Prison, specific
16     quarantine practices for inmates, including those in the EOP level of care, could not be agreed to.
17     Defendants will keep Plaintiffs apprised of any outbreak or need for quarantine at San Quentin
18     and will further provide Plaintiffs information on what treatment and programming is being
19     provided to quarantined EOP patients at San Quentin. Plaintiffs reserve all of their rights and
20     options with respect to the need for a safe quarantine housing plan for EOPs in the large 100
21     person EOP dorms at San Quentin.
22                  c.     California Medical Facility’s (CMF) Psychiatric Inpatient Program (PIP) has
23     two dorm units. At their November 10, 2020, meeting, the parties discussed tentative plans about
24     where to quarantine patients in those units if necessary. The parties had not reached an agreement
25     on where CMF would quarantine dorm PIP patients. Defendants will endeavor to provide
26     Plaintiffs with a plan to quarantine dorm PIP patients within 30 days. The parties also need to
27     address the issue of where PIP patients who must be moved out of their housing units for
28     quarantine and isolation purposes will be housed.
       [3681713.1]                                     4
                              Stipulation on Quarantine Space for EOP and PIP Patients (2:90-cv-00520 KJM-DB (PC))
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 1               6)     This stipulation will remain in effect only so long as CDCR is required to maintain
 2     separate COVID-19 related quarantine space pursuant to Plata v. Newsom, United States District
 3     Court, Northern District of California, ECF No. 3401, Order to Set Aside Isolation and
 4     Quarantine Space.
 5     The Special Master has reviewed and approves this stipulation.
 6     DATED: January 22, 2021                               XAVIER BECERRA
                                                             Attorney General of California
 7                                                           ADRIANO HRVATIN
                                                             Supervising Deputy Attorney General
 8
                                                         By: /s/ Elise Owens Thorn
 9
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10                                                           Deputy Attorney General
                                                             Attorneys for Defendants
11

12     DATED: January 22, 2021                               ROSEN BIEN GALVAN &
                                                             GRUNFELD LLP
13

14
                                                        By: /s/ Ernest Galvan
15                                                          Ernest Galvan
                                                            Attorneys for Plaintiffs
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18                   IT IS SO ORDERED.
19     DATED: February 17, 2021.
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       [3681713.1]                                            5
                                 Stipulation on Quarantine Space for EOP and PIP Patients (2:90-cv-00520 KJM-DB (PC))
